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                           UNITED STATES DISTRICT COURT

                         NORTHERN DISTRICT OF CALIFORNIA

                                       CIVIL MINUTES

 Date: October 9, 2019           Time: 1 hour, 6 minutes Judge: WILLIAM H. ORRICK
                                 2:12 p.m. to 3:18 p.m.
 Case No.: 16-cv-04958-WHO       Case Name: Krommenhock v. Post Foods, LLC



Attorney for Plaintiff: Jack Fitzgerald, Trevor Flynn, and Melanie Persinger
Attorney for Defendant: Aaron D. Van Oort and Emily R. Zambrana

 Deputy Clerk: Jean Davis                             Court Reporter: JoAnn Bryce


                                       PROCEEDINGS

Parties appear for hearing on multiple motions. The Court outlines the structure and time limits
of the hearing and summarizes the preliminary opinions. Argument of counsel heard. The
motions are taken under submission; written order to follow.
